Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 1 of 17
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                               September 08, 2016
                                                                David J. Bradley, Clerk
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 2 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 3 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 4 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 5 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 6 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 7 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 8 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 9 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 10 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 11 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 12 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 13 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 14 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 15 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 16 of 17
Case 4:12-cv-02676 Document 309 Filed in TXSD on 09/07/16 Page 17 of 17
